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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


 JEANNE AUTIN                                          CASE NO. 2:17-CV-04911
 Individually and on Behalf
 Of All Other Similarly Situated
                                                       SECTION N (ENGELHARDT)
         Plaintiff,

 v.                                                    MAGISTRATE 2 (WILKINSON)

 JOHN LEE JACKSON, et al.
      Defendants.



                                    ORDER OF DISMISSAL


       The Court has been advised by counsel for the parties that all of the parties to this action

have agreed upon a settlement (Rec. Doc. 92). Accordingly, IT IS ORDERED that this action be

and hereby is dismissed without costs and without prejudice to the right, upon good cause shown

within one hundred twenty (120) days, to re-open the action if settlement is not consummated.

The Court retains jurisdiction, however, to enforce the settlement agreed upon by the parties.

      COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN SUBPOENAED,

      EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT TO APPEAR.



              New Orleans, Louisiana this _______        day of September, 2017.




                                              __________________________________________
                                              HON. KURT D. ENGELHARDT
                                              UNITED STATES DISTRICT JUDGE
